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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF ARIZONA
                                    TUCSON DIVISION

Cynthia Valencia                                         Case No.:
6619 E. Calle De San Alberto
Tucson, AZ 85710                                         Judge:

         Plaintiff,                                         COMPLAINT FOR DAMAGES
                                                              UNDER THE FAIR DEBT
v.                                                        COLLECTION PRACTICES ACT AND
                                                             OTHER EQUITABLE RELIEF
Valentine & Kebartas, Inc.
c/o CT Corporation System
2394 E. Camelback Rd.                                     JURY DEMAND ENDORSED HEREIN
Phoenix, AZ 85016

         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.




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5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around September 30, 2009, Plaintiff filed a voluntary petition for a Chapter 7

   bankruptcy.

8. The debt in question was listed on Plaintiff’s bankruptcy petition.

9. On or around January 19, 2010, Plaintiff’s debts were discharged in bankruptcy.

10. On or around May 12, 2010, Defendant communicated with Plaintiff.

11. During this communication, Plaintiff notified Defendant that Plaintiff filed bankruptcy and

   provided Defendant with Plaintiff’s bankruptcy case number and attorney’s contact

   information.

12. During this communication, Defendant falsely represented that the debt was not included in

   Plaintiff’s bankruptcy and that Plaintiff was still liable for it.

13. Despite having notice Plaintiff’s bankruptcy, Defendant telephoned Plaintiff several times

   thereafter.

14. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

15. Defendant violated the FDCPA.

                                            COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

16. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

17. Defendant violated 15 U.S.C. §1692c in that it communicated with Plaintiff notwithstanding

   Plaintiff’s notice that Plaintiff was represented by an attorney.




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                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

19. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

    unconscionable means to collect the debt.

                                          JURY DEMAND

20. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

21. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                Macey & Aleman, P.C.

                                                By: /s/ Jody A. Corrales
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